Fill In this information to Identify your case:

United States Bankruptcy Court for the: «

Western District of Texas

Case number (1 anowm:

19-31968

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

 

Chapter you are filing under:
Chaptor 7

QO chapter 14

CF Chanter 12 .
chapter 13 +) Check if this is an

amended filing

 

12/17

 

The bankruptcy forms use you and Dedtor 7 te refer to a debtor filing alone, A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and

Debtor Z to distinguish between them. In joint cases,
Same person must be Debtor 7 in all of the forms,

one of the spouses must report information as Debtor 7 and the other as Debtor 2. The

Be as complete and accurate as possibie. If two married people are filing together, both are equally responsible for supplying correct
intormation. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

{if known), Answer every question.

[Part 4: | identify Yourself

1, Your full name

About Debtor 1:

Write the name that is on your

About Debtor 2 (Spouse Onfy in a Joint Case}:

 

 

 

 

 

 

 

 

 

 

 

government-issued picture MICHAEL A
identification {for example, rst name rst name
your driver's license or
passport}. Middle name Middle name
Bring your picture BROWN
identification to your meeting —- Last name Last name
with the trustee.
Sulfix (Sr, Je, WU, i) Sufix (Sr, de, IL, 1a
2. Albother names you
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names. s
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
: ; - - 7 4 5 4 XXX XK +
your Social Security OX OK Le —
number or federal OR OR
Individual Taxpayer
9xx = XxX - 9 xx - xx -

Identification number
{ITIN)

Official Form #07

Voluntary Petition for Individuals Filing for Bankruptcy

pags 1

ye
V1

aepTe_ 301/39
 

 

 

Debtor 1 M ICHAEL BROWN Case number tf known)
First Name Miadie Name Last Name
About Debtor 4: About Debtor 2 (Spouse Only in a Joint Case):

4, Any business names
and Employer
identification Numbers
(EIN) you have used in
the last 8 years

include trade names and
doing business as names

F have not used any business names or EINs.

| have not used any business names or EINs,

 

Business name

Business name

 

Business name

aN

EN

Business name

EIN

 

5. Where you live

4337 JOHN B OBLINGER DRIVE

if Debtor 2 lives at a different address:

 

 

 

 

 

 

Number Street Number Street

EL PASO TX 79934

City State ZIP Code City State ZIP Code
EL PASO

County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City Sinte ZIP Coda City Stata ZIP Code
6, Why you are choosing Check one: Check one:

this district to fila for
bankruptcy

1 Over the last 180 days before filing this petition,
| have lived in this district longer than In any
other district.

C1 i have another reason, Exptain.
(See 28 U.S.C. § 1408.)

 

 

 

 

C) Over the fast 180 days before filing this petition,
| have lived in this district Janger than in any
other district.

C1 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 104

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Debtor 1

MICHAEL

First Name

Middle Hime

BROWN

Last Name

Case number (wv known),

Part 2: | Tell the Court About Your Bankruptcy Case

?.

10.

1.

The chapter of the
Bankruptcy Code you
are choosing to fife
under

How you will pay the fee

Have you filed for
bankruptcy within the
fast 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 191

Check one, (For a brief description of each, see Notice Required by 17 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010)}}). Also, go to the top of page 1 and check the appropriate box,

4 Chapter 7

C3 Chapter 11

C} Chapter 12

QC) Chapter 13

C1 I will pay the entire fee when I file my petition, Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is

submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

id | need to pay the fee in instaliments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Installments (Official Farm 1034}.

(} I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so. only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Appiication to Have the
Chapter ? Filing Fee Waived (Official Farm 1038) and file it with your petition.

 

 

 

 

 

 

 

1 No
C) Yes. diswiet When Case number
MMi BOY YY
District When Case number
MMi DD IYYYY
District When Case number
MM/ DD IYYYY
id No
Oves. pentor Relationship to you
District When Case number, ifknown
MM ‘DO EY yY
Debtor Relationship to you
District When Case number, if known,
MM / DD / ¥YYY
CINe. Goto line 72.
4 Yes, Has your landlord obtained an eviction judgment against you?

{4 No. Go to line 12.

(I Yes. Fill out /nifia! Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankrustcy petition.

Voluntary Petition for individuals Filing for Bankruptcy page 3
Debtor 1 M | C HAE L B ROWN Case number (4 krown)

 

First Name Middle Nama Last Name

iE Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor No. Goto Part 4.
of any fuil- or part-time
business? CI Yes. Name and location of business

A sole proprietorship is a
business you operate as an - -
individual, and ic neta Name of Ousiness, if any
separate fegal entity such as

a corporation, partnership, or
LL. Number Street

 

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

ily State ZIP Cade

Check the appropriate box io describe your business:

C] Heaith Care Business (as defined in 11 U.S.C. § 104(27A))
CL] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
QO Stockbroker (as defined in 14 U.S.C. § 104{53A})

OD commodity Broker (as defined in 11 U.S.C. § 101(6))

(J None of the above

13. Are you filing under ff you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can sel appropriate deadlines. tf you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor? .
_ Yi no. tam not filing under Chapter 14.
For a definition of smalt
business debtor, see LI No, {am filing under Chapter 14, but tam NOT a small business debtor according to the definition in
17 U,S.C. § 101{51D}, the Bankruptcy Cade.

Q) Yes. tam filing under Chapter 11 and! am a small business debtor according to the definition in the
Bankruptcy Code.

aa Report if You Own or Have Any Hazardous Property or Any Property That Needs [mmediate Attention

 

14. Do youown orhave any) [Ne
property that poses or is

 

alleged to pose athreat J Yes. Whatis the hazard?

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs Ifimmediate attention is needed, why is it needed?

 

immediate attention?
Far example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

Cily State ZIP Cade

Official Form 101 Voluntary Petition tor individuals Filing for Bankruptcy page +
Debtor 1 MICHAEL

First Nama Middle Mame

BROWN

Last Nara

Case number tvknow,

 

| Part 5: | Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptey. You must
truthfully check one of the
foltowing choices. If you
cannot do so, you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin caltection activities
again.

Official Form 101

About Debtor 1:

You must check one:

(7 i received a bricfing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion,

Aitach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C] t received a briefing from an approved credit
counseling agency within the 180 days before !
filed this bankruptcy petition, but | do not have a
certificate of complation.

Wilhin 14 days aller you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and axigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made te obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptey.

If the court is satisfied with your reasons, you must
still receive a briefing within 90 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
daveloped, if any. If you do not do so, your case
may de dismissed.

Any extension of the 30-day deadline is granted
only for cause and is imited to a maximum of 15
days.

C3 | am not required to receive a briefing about
credit counseling because of:

CJ tncapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances,

CJ Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

CI Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are net required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

( Ireceived a briefing: fram an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of comptetion.

Altach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C] | received a briefing-from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but} do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

| certify that 1 asked for cradit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable ta obtain it before you filed for
bankruptcy. and what exigent circumnsiances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for noi receiving a
briefing before you filed for bankruptcy,

If the court is satisfied with your reasens, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do noi do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is.|imited to a maximum of 15
days.

OC 1am not required to receive a briefing about
credit counseling because of;

C) incapacity. | have a mental illness or a mental
deficiency thal makes me
incepable of realizing or making
ratianat decisions about finances.

C1 Disability. My physical disabitity causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after !
reasonably tried to do sa,

OC Active duty. [em currently on active military
duty in a military combat zone.

Hf you believe you are not requirad to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Fiting for Bankruptcy page &
 

 

 

 

 

red 19-31968

reve coun Certificate Number: 15725-TXW-CC-033739 138

ae 0 AON 00

=

CERTIFICATE OF COUNSELING

I CERTIFY that on November 22, 2019, at 7:41 o'clock PM EST, Michael Brown
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the Western District of Texas, an individual [or
group] briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment pian is attached to this certificate.

This counseling session was conducted by internet.

Date: November 22, 2019 By: és/Charlene Duan
Name: Charlene Duan

Title: Issuer

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
Debtor 1 MICHAEL

First Name Middle Nama

BROWN

Last Name

Case numbor ti kono)

Ey Answer These Questions for Reporting Purposes

i6. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11U.S.C. § 1018)
as “incurred by an individual primarily for a personal, family, or household purpose,”

(L) No. Go te line 16b,
Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debis that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

#1 No. Go to jine 16c.
CO) Yes. Go to tine 17.

16c, State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 77

Do you estimate that after
any exempt property is

44 No. 1am not filing under Chapter 7, Go to line 18.

QO) Yes. tam filing undar Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and No
administrative expenses
are paid that funds will be OQ Yes
available for distribution
to unsecured creditors?
18, How many creditors do i 149 ©) +,000-5,000 CI 25,001-50,000
you estimate that you (3 50-99 L] 5,004-10,0c0 C1 50,001-100,000
owe? OD) 100-199 ©) 10,001-25,000 () More than 100,000
2] 200-999
19. How much do you 1 30-850,000 (3 $1,000,004-$10 million CI $500,000,001-$1 billion

estimate your assets to
be worth?

20. How much do you
estimate your ijabilities
to be?

Sign Below

CI $50,001-3100,000
O) $100,001-$500.000
O) $500,004-$1 million

C3 $0-$50,000

J $50,001-$100,000
QI $100,001-$590,000
©) $500,001-$1 million

C3 $49,000,001-$50 million
CJ $50,000,001-$100 milion
CL) $100,000,001-8500 million

2 $1,000,001-$10 million

LJ $10,000,001-$50 million
CJ $50,000,001-$100 million
CJ $100,000,001-$500 million

©) $1,000,000,001-$10 billion
LI $10,000,006,001-850 billion
2) More than $50 billion

L $500,000,001-51 billion

L} $7,000,000,001-$10 billion
C1 $10.000,000,001-$50 billion
C) More than $50 billion

 

For you

Official Form 107

| have examined this petition, and 1 declare under penally of perjury that ihe information provided is true and

correct,

If| have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11.12. or 13
of title +1, United States Coda. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

if no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Cade, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property oy fraud in connection
with a bankruplcy case can resull in fines up to $250,000, or imprisonment for up lo 20 years, or both.
18 U.S.C, §§ 152, 1341, 1519, and 3571,

K Mile toe

Signature of Debtor 4
fxecuted on 11/25/2019

x

 

Signature of Debtor 2

Executed on

MM ? DD IYYYY

Voluntary Petition for Individuals Fillng for Bankruptcy

MM / DD

Perry

Poe aine remain t tf

page 6
Bebtor i MICHAEL BROWN Case number til keowny

 

First Name Atiddis Name (ast Name

|, the attomey for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibitity
to proceed under Chapter 7, 11, 12, or 13 of tile 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707({b)(4)(D) applies, certify that | have no

For your attorney, if you are
represented by one

 

 

 

If you are not represented knowledge after an inquiry thal the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. x
Date
Signature of Attomey for Debtor MM /* OD /YY¥YY
Printed name
Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
Debtor 1 MICHAEL

Fit Nare Middle Mara

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

Official Form 101

X Mdfedt [bu—— x

BROWN Case number (it known),

Last Name

 

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. H that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay,

You must list all your property and debts in the schedules thal you are required te file with the
court. Even if you plan to pay 2 particular debt outside of your bankruptcy, you must list that debt
in your schedules, If yau do not list a debt, the debt may nat be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property, The judge can
also deny you a discharge of all your debits if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankrupicy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide te file without an attorney, the court expects you to follow the rules as if you had
hired an attorney, The court will not treal you differently because you are filing for yourself, To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

M1 No

ied Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

C No

id Yes

Did you pay or agree to pay someone who is not an attlammey to help you fill out your bankruptcy forms?
O No

#1 Yes. Name of Person PATSY A. JORDAN
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119),

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understocd this notice, and 1 am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

 

 

 

 

 

Signature of Debtor 4 Signature of Dabtor 2
Date 11/25/2019 Date
MM/DD 7 YYYY MM? DD fY¥Y*
Contact phone (91 5) 990-8048 Contact phone
Cell phone Cell phone
Email address Email address __
Voluntary Petition for Individuals Filing for Bankruptcy page &
meme iel ence Identify your case:

Debtor 1 MICHAEL BROWN

Fist Neme Micdia Name Last Name

Dabtor 2
(Spouse. if filing) FirstName Atddig Name

 

United States Bankruptcy Court for ihe: Western District of Texas

Case number
(H known)

 

L) Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12H8

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money of property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1819, and 3574,

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptey forms?

C8 No
Hf Yes. Name of person PATSY A. JORDAN

. Attach Bankruptey Petition Preparer’s Notice, Declaration, and

Signature (Official Form 419).

Under penalty of perjury, i declare that | have read the summary and schedules fited with this declaration and
that they are true and correct,

XK Mibrd fo — x

Signature of Debtor 1 Signature cf Debtor 2

 

Date 11/25/2019 Date

MMi DD ¢ vyTY MM! DD f YYYY

 

a et eter POETS © SH RAMAN BENS ba ila BREE EE ARR PUREE RTD BAD Pom ENN Get Po MI BENE AMM ILE Hem Be chop awe 4

Official Form 106Dec Declaration About an Individual Debtor's Schedules
Fill in this information to identify your case and this filing:

Debtor | MICHAEL

BROAN

 

First Name

Debtor 2

Middle Name

Last Narie

 

{Spouse, ffikng) Feat ame

Mie Name

United States Bankruptey Court for the: Western District of Texas

Case number

 

 

CI Check if this is an

 

Official Form 106A/B8

 

amended filing

Schedule A/B: Property 12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible, If two married people are filing together, bath ave equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form, On the top of any additional pages,
write your name and case number (if known), Answer every question.

Describe Each Residenco, Building, Land, or Other Real Estate You Own or Have an Interast in

 

1. Do you own or have any legal or equitabie interest in any residence, building, land, or similar property?

CI No. Go to Part 2.
4 Yes. Where is the property?

14, 4337 JOHN B OBLINGER DR

 

Street address, if available, or other description

 

 

 

EL PASO TX 79934
City Slate aiP Code
EL PASO

County

lf you own or have more than one, list here:

1.2.

 

Streat address, if available, ar ather description

 

 

City

Sate

ZIP Code

 

County

Official Form 10GA/B

What is the property? Check all that apply. Do not deduct secured claims or exemptions, Put

w Single-family home the amount of any secured claims on Schedule B:
0 Duptex or multi-unit building Creditors Who Have Claims Securad by Property.

 

OF Condominium or cooperative Current value of the Current value of the
1) Manufactured or mobile home entire property? portion you own?
D tand g 210,000.00 5 15,569.00
C3 investment property

CI timeshare Describe the nature of your ownership

interest (such as fee simple, tenancy by

CI other the entireties, or a life estate), if known,

 

Whe has an interest in the property? Check one.

(3 bebtor 4 only

Ci Debtar2 only
CO) Debtor 1 and Debtor 2 only ( Check if this is community property
(see instructions)

 

CJ Atleast one of the debtors and another

Other information you wish to add about this item, such as Iocal
property identification number:

 

What is the property? Check ail that apply. Do not deduct secured claims ar exemplions. Put

C) Single-family home the amount of any secured claims on Schedule D-

O) Duptex or multi-unit building Creditors Who Have Claims Secured by Property.

 

Condominium or cooperative Current value of the Current value of the
OQ Manufactured or mobile home antire proporty? portion you own?
C1 tand $ $

CL] Investment property .

CO timeshare Describe the nature of your ownership

interest (such as fee simple, tenancy by
C1 other the entireties, or a life astate}, if known.

Who has an interest in the property? Check ane.

 

© Debtor 1 only

() Debtor 2 only

Qi Debtor 1 and Debtor 2 aniy () Check if this is community property
CQ} At least one of the debtors and anothor (see instructions)

Other information you wish to add about this itam, such as local
property identification number:

 

Schedule A/B: Proparty page 1
 

 

 

 

 

 

 

 

 

 

 

Debtor 1 MICHAEL BROAN Case number ition
First Name Miidia Name Las Name
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
13 QO Single-family home the amount of any secured claims on Schedule D:
se . — OC Gredifors Who Have Claims Secured by Property.
Street address, if available, or other description i) Duplex or multi-unit building
OQ Condominium or cooperative Current value of the Current value of the
CY Manufactured or mobile home entire property? portion you own?
C} Land 5 - §
QO investment property
City State ZipCode () Timeshare Describe the nature of your ownership
Oo interest (such as fee simple, tenancy by
Other the entireties, or a life estata), if known.
Who has an Interest in the property? Check one.
EL Debtor 1 only
County
C1) Debtor 2 orily
C2) Debtor 1 and Debtor 2 only C) check if this is community property
[) at teast one of ihe debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages 5 15,569.00
you have attached for Part 1. Write that number here. ooo... eee ccssccececseesecesceccceccsecessceesereuuetaussersuutensessereesce >

me Describe Your Vehicles

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

CT No

Mf Yes

3.4. Make: TOYOTA
Model: HYUNDIA
Year 2013

Approximate mileage:

Other information:

If you own or have more than one, describe here:

32. Make: TOYOTA
Model: Highlander
Year: 2016

Approximate mileage:

Other information:

Official Form 1064/B

Who has an interest in the property? Check one.

Wd Debtor 1 only

L] Dentor 2 only

C} Debtor 1 and Debtor 2 only

CI Atleast ona of the debtors and another

C} Cheek if this is community property (see
instructions}

Who has an interest in the property? Check one.

U1 Dexter 1 only

Q) Debtor 2 only

(9 debtor 1 and Debtor 2 only

CF At least one of the debtors and another

CQ) Check if this is community property (see
instructions)

Schedule A/B: Property

Oo not deduct secured claims or exemptions, Put
the smount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

$ 5,000.00 5 5,000.00

 

Do net deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

g 15,000.00 « 15,000.00

 

page 2
 

 

 

Do not deduct secured claims or exemptions. Put
ihe amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Debtor 1 MICHAEL BROAN
Fret Name Mudidla Name Casi Name Case number jf xnown
33. Make: DODGE Who has an interest in the property? Check one.
Medel: AVENGER A Debtor 1 only
Year: 2013 C1 Debtor 2 only

 

Approximate mileage:
Other information:

i
t
|

3.4. Make:
Model:
Year:
Approximate mileage:
Other information:

‘

(2 Gebtor 1 and Debior 2 only
CT At teast one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C1) Debtor 1 only

Ct Debtor 2 onty

CQ] Debtor 1 and Debtor 2 only

E) Atleast one of ihe debtors and anolher

CL) check if this is community property {see
instructions)

Current value af the
portion you own?

Current value of the
entire property?

$ 7,000.00 7,000.00

 

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

4, Watercraft, aircraft, mator homes, ATVs and other recreational vehicles, other vehicles, and accessoricas
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Ui no
C1 Yes

4.1. Make:
Model:

 

Year:

Other information:

i
i

Bee ee

If you own or have more than one, list here:

4.2. Make:
Model:

Year:

 

 

Other information:

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

Who has an interest in the property? Check one.

U) Debtor 4 only

OQ) Detter 2 only

CI} Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CT Bebtor 1 only

CJ Debtor 2 only

CL] Debtor 1 and Debtor 2 only

© Al jeast one of the debtors and another

C3 Check if this is community property (see
instructions}

you have attached for Part 2. Write that number Were ooo. ccsesccsssssssscscsssssessessssssssecensecsscene

Official Form 106A/B

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of arly secured claims on Schedule D:
Creditors Who Have Claims Secured by Property,

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions. Pul
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

27,000.00

page 3

 
Debter 1 MICHAEL BROAN Case number tw anown)

First Name Middle Name LaziName

| eort 3: Your Personal and Household Items

 

 

 

Current value of the
portion you own?

Do not deduct secured claims
or axemations.

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
QO No :
4 Yes. Desoribe......... HOUSEHOLD GOODS AND PERSONAL ITEMS $ 500.00

7, Electronics

Examples: Televisions and radios: audio, video, stereo, and digital equipment; computers, printers, scanners; music
collactions; electronic devices including cell phcnes, cameras, media players, games

CI No . ve eee vince eee we ee
i Yes, Describe.......... CELL PHONE, TELEVISIONS $ 250.00

& Collectibles of valua

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects:
stamp, coin, or baseball card collections: other collections, memorabilia, collectibles

iJ No . = ce ae cena nme a fe tin mane unten ees te ke ieee attest) ne veut ugeee
CQ] Yes. Describe..........' : $

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment: dicycies, poo! tables, golf clubs, skis; canoes
and kayaks: carpentry tools; musical instruments

| No . . a . . cee te ce cect ae
(3 Yes. Deseriba.......... $

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

Wd No be kone cutee wee oe teeta cee . - - fee nets eantntnee

OQ) ves. Describe........., 5
11. Clothes

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

No cee : ee ee eee gunn nem pecan cote ee oon neni ce seine cits eee - re

id Yes. Describe... CLOTHING, SHOES & ACCESSORIES § 500.00
12. Jewelry

Examples: Everyday jeweiry, costume jewelry, engagement rings. wedding rings, heirlaom jewelry, watches, gems,

gold, silver
1 no

: 300.00
1 Yes. DeSerDe me JEWELRY | |

13, Non-farm animals

Examples: Dogs, cats, birds, horses

iJ No u : . . . oe Fe
QI Yes. Describe........... 5

14, Any other personal and household items you did not already list, including any health alds you did not lst

4 No / : . .
C] Yes. Give specific $ 0.00
information... ° _

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 4 500.00

 

 

 

for Part 3, Write that number here ooo... ccc cccssescsesccescesscesseevseeeeectsesevevssnessresevetenesssttensenmmersenamettaanypieseqeeseienreenecnnacees OP

Official Form 106A/B Schedule A/B: Property page 4
Bebtor 1 MICHAEL BROAN

Fest Name Akddla Name Last Name

BED o-scrne Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

16, Gash
Examples: Money you nave in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

CL No

 

Case number uranowny

Current value of the
portion you awn?

Do not deduct secured claims
or exemptions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CASH wee = B 150.00
77. Deposits of moncy
Examples; Checking, savings, or other financial accounts: certificates of deposit: shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the sarne institution, list each.
iJ No
7 - Institutian name:
17,1, Checking account: $
17.2. Checking account: $
17.3, Savings account: $
17.4, Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: g
17.7, Other financial account: 3
17.8, Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples. Bond funds, investment accounts with brokerage firms. money market accounts
No
DD VS. ees Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
W No Name of entity: % of ownership:
C) Yes. Give specific 0% a
information abaut 04
THOM, nc ceereeereeeieeen fe ‘to
a
0% x
Schodulo AJB: Praperty page 5

Offiaal Form 1064/8
Debtor 1 MICHAEL BROAN Case number (uf anewn)

Firat Name Middle Kame Last Name

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someane by signing or delivering them.

UW no

L] Yes. Give specific Issuer name:
information about

 

 

 

21, Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, ar other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

QO) No
1 Yes, List each
account separately. Type of account: Institution name:
204(k) of similar plan; EMPLOYER'S 401K POST OFFICE $ 1,015.00
Pension plan: $
IRA: $
Retirement account: $
Keagh: $
Additional account: 3.
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements wilh landlords, prepaid rent, public utilittes (alectric, gas, water), telacornmunications
companies, or others
id No
i (- Institution name or individual:
Electric: $
Gas: §
Raating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: 3
Rented furniture: $
Other: §
23. Annuities (A contract for a periodic payment of money te you, either for tife or for a number of years)
i No
OD Yes. een — Issuer name and description:
$
$
$

 

Official Form t06A/B Schedule A/B: Property page 6
Debtor1 = MICHAEL BROAN

Case number tfanewni,
First Name Middie Name Last Name

 

24.Interests in an education IRA, in an account in a qualified ABLE program, or under a quaiified state tuition program.
26 U.S.C. §§ 530(6)(1}, S29A(b), and $29(b}{1).

@ No
CO) Yes lot bdavageesens tea seeasvasercceaeera

Institution name and description. Separately file the records of any interests.11 U.S.C. § 524(c}.

 

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

Hi no

O) yes. Give specific
information about them... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

no

OC) Yes. Give specific
information about them... 4

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquer licenses, professional licenses

W No

(3 Yas. Give specific
information about them... $

Money or property owed to you? Current vatue of the
portion you own?
Go not deduct secured
claims or exemptions.

28. Tax refunds owed to you

u No eae we . er

O Yas. Giva Specific information FILED AND RECEIVED Faderal:
about them, including whether
you already filed the returns State:
and the tax years. oo

Lesa: 5

29, Family support
Examples: Pasi due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Hi No

] Yes. Give specific information...

Alimony: §
Maintenance: $
Support $
Divarce setilemant: $
, Property settlement: 3
30. Other amounts someone owes you
Exampies: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
W No oo
C} Yes. Give specific information............. 5

Official Farm 1064/5 Schedute A/B: Property page 7
Debtor 1 MICHAEL BROAN

Case number tw mown!
First Name Addie Name Lasl Nome meer

31. Interests in insurance policies
Exampies: Health, disability, or life insurance; health savings account {HSA}: credit, homeowner's, or renter’s insurance

W No

C) Yes. Name the insurance company

. - Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. .. ¥ Y

 

 

 

32. Any interest in property that is due you from someone who has died

li you are the beneficiary of a living irust, expect praceeds from a life insurance policy. or are currently entitled io receive
properly because someane has died,

id No

C1 Yes. Give specific information. ccc... ,

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents. employment disputes, insurance claims, or rights to sue

id No

Cl ves. Describe each GIANT. nus eee

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to sat off claims

J No

LL] Yes. Describe each claim. .o.ccccceccse

35. Any financial assets you did not already list

C} Yes. Give specific information............ 5

 

36, Add the doilar value of all of your entries from Part 4, including any entries for pages you have attached 4,165.00
for Part 4, Write that number here oo. ssooueseeuecseasensneesensaservesressesaniatssessiisasesecssasceeaeesneersecen eescasiessovatsaee cents $ , :

 

 

 

 

Goa Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 4.

37.Do you own or have any legal or equitable interest in any business-related property?
id No. Go to Part 6,

C) Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

i No
C] Yes. Describe.......

$
39. Office equipment, furnishings, and supplies
Exaniples; Business-related computers, software. modems, printers, copiers, fax machines. rugs, telephones, desks, chairs, electronic devices
id Na

CI Yes. Desorite....... $

Official Form 1964/6 Schedule AfB: Property page &
Debtor 1 MICHAEL BROAN

First Kame Made None iastname Case number tetknonny

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

@ no

LY ves. Descrine...

41. Invantory
i No -
OD) ves. Describe...

42, Interests in partnerships ar joint ventures

wf we

Ct Yes. Describe.......
%

%

%

43. Customer lists, mailing lists, or other compilations
bt No
CI ves. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(44A))?

L) No
CI) Yes. Describe........

44. Any business-related property you did not already list
id No
CQ) Yes. Give specific

Name of entity: % of ownership:

 

information .........

 

 

 

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

for Part 5. Write that number ere oo sessesssecsseescsssseesssssscssstsonescanseanesasscseeasssesuesnsaescantonsaseesessssesesaeanssstansassesaeaatastansesansassesse

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest. In,

if you own or have an interest in farmland, list it in Part 1.

46.Bo you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

(ef No. Go to Part 7.
CI Yes, Go to line 47.

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

No
CV Ves nc ccssccecesseesen

Othicial Form TO6A/B Schedule a/B: Property

oo 7 4 Ff ww wm

 

 

9.00

 

Current value of the
portion you own?

Bo not deduct secured claims
or exemptions.

 
Debtor 1 MICHAEL BROAN Case number tt known}

 

 

Furst Name Middle Name Last Namo

48, Crops—either growing or harvested

71 No . bec baie meee

CL) Yes. Give specific

information. ............ 3

49, Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

1 No
ee

50. Farm and fishing supplies, chemicals, and feed

No
CD VeS cece

51. Any farm- and commercial fishing-reiated property you did not already list
No
C) Yes. Give specific -
INFOrMALION. ...-.-0000. 5

 

62. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number Were oe coe eeccceceeecesscseeeeteeseeveseesesesenrenieectttsaeatiessoniiesseccenatesiubiacsscaaurseansavarerseesess ee

 

0.00

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
No

Cl Yes. Give specific |
information. ........0.-

 

 

54, Ade the dollar value of all of your entries from Part 7. Write that number here cacseueciseanessverenvassvnenseerecaayereeysnteesectensessessee a

0.00

 

List the Totals of Each Part of this Form

 

§6, Part 1: Total real estate, WG 2 o.ccccccccccccsscsscsssssscssssssses veeecusrceeceenanencencesrunsiteiennesstessiiiniusitinionsoressninecconeenes a §

56. Part 2: Total vehictes, line 5 $ 27,000.00

57,Part 3: Total personal and household items, line 15 $ 1,800.00

58.Part 4: Total financial assets, line 36 $ 1,168.00

59. Part 5: Total business-related property, line 45 $ 0.00

60. Part 6: Total farm- and fishing-related property, line 52 $ 9.00

61, Part 7: Total other property not listed, line 54 +S 0.00

; 29,665.00.

62. Total personal property, Add lines 56 through 61. oo. Copy personal property tolal > +3

15,569.00

29,665.00

 

63, Total of all property on Schedule AIB. Add line 55 + line G2... ect eer es sesee ee eeeseeenreneceeeeeneanennanpeanenenyenenasey $

 

45,254.00

 

Official Form 4064/8 Schedule A/B: Property

page 10

 

 

 
Fill in this information to Identify your case:

Debtor 1 MICHAEL BROWN

Fast Name Middle Name Last Name

Debtor 2
{Spouso. f filing) First Name Made Name hast Nare

 

United States Bankruptcy Court for the: Wastern District of Texas

 

Case aumber C) Check if this is an
CF know) .
amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsibie for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt, If more
Space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in doliar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that arnount, your exemption
would be limited to the applicable statutory amount.

} Part 1: CY the Property You Claim as Exempt

1, Which set of exemptions are you claiming? Check ane only, even if your spouse is filing with you,

w You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b}(3)
CI You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/G that you claim as exempt, fill in the infarmation below.

Brief description of the property and line on Current vaiue of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

Schedule A/B that tists this property Portion you own
Copy the value from Check enly one box for each exemption.
Schedule A/B
foseription, HOUSEHOLD ITEM 5 15,569.00 5 15,569.00
Line from C] 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief os
description, CASH ON HAND $ 150.00 $ 150.00
Line from C3 100% of fair market value, up to
Schedule 4/B: ~~ any applicable statutory limit
Sescription, 2013 HYUNDIA_—¢ 5,000.00 $ 5,000.00
Line from E] 100% of fair market value, up to
Schedule A/B: any applicabte statutory limit

 

3. Are you claiming a homestead exemption of more than $170,3507
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

W No

C} Yes. Did you acquire the property cavered by the exemption within 1.215 days before you filed this case?

O No
Ol vas

Official Form 106C Schedule C: The Property You Claim as Exempt page lof
Debtor + MICHAEL BROWN Case number qknnm

First Name Middle Kame Last Name

 

 

 

 

 

 

 

 

 

 

 

Additional Page
Brief description of ihe property and line Current value ofthe = Amount of the exemption you cial i
on Schedule A/B that lists this property portion you own moon you eran Specific laws that allow exemption
Copy the value from Check only one box for gach exemption
Schedule A/B
Brief
description; -2O1GHIGHLANDER  ¢ 15,000.00 @&3_ 15,000.00
Line from (J 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
Brief
description; 2013 DODGE $ 7,000.00 Ws __ 7,000.00
Line trom CJ 100% of fair market value, up lo
Schedule A/B:._ ———— any applicable statutory mit
Brief
description: 5 Cs
Line from CL) 100% of fair market value, up to
Schedule Af8: a" any applicable statutory limit
Brief
description; = --————____—__-__ $ Os
Line from ©) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ is
Line from C3 100% of fair market value, up to
Schedule A/a: ~ ——— any applicable statutory lirnit
Brief
description: 3 Os
Line from O] 100% of fair market value, up to
Schedule A/B:_ ~——_ any applicable statutory limit
Brief
description: 3 Os
Line from C¥ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: ———— 8 Os
Line from C) 190% of fair market value, up to
Schedule A/B:. ——— any applicable statutory limit
Brief
daseription: $ Os
Line from (] 160% of fair market value, up to

Schedule 4/8. any applicable statutory limit

 

 

 

Brief

description, § ———______._._ 3 Cis

Line from CL} 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief

description: —__________ Qs

Line from Q) 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief

description: $ ils

Line fram © 460% of fair market value, up to
Schedule A/8: any applicable statutory fimit

Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of _.
Fill in this information to identify your case:

MICHAEL

First Name

BROWN

Last Name

Debtor 1
Maids Namo

Debtor 2
(Spouse, tf ting) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Western District of Texas

Case number
tli known)

 

 

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

CT Check if this is an
amended filing

125

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1, Do any creditors have claims secured by your property?

C} No, Check this box and submit this form to the court with your other schedules. You nave nothing else to report on ihis form.

© Yes. Fill in all of the information below.

Ga List All Secured Claims

 

Column A Column 8 Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct tha that supports this portion
As much as possible, list the claims In alphabetical order according to the creditor’s name. value of collateral, claim tt any

 

 

 

 

 

NATIONSTAR MORTGAGE Describe the property that secures the claim: §. 194,431.00 ¢__ 210,000.00 5 15,569.00
Sraanav's News - wi ee ee ee
8950 CYPRESS WATERS BL. 2015 NISSAN ALTIMA
Number Street we ee cee ee nee png can ne ae ana ced
As of the date you file, the claim is: Check all that epply.
7 Contingent
DALLAS TX 75063 0 unliquidated
City State = ZIP Code 9 Disputed

Who owes the debt? Check onc.

ff Debtor 1 only

O) Debtor 2 only

O1 Debtor 1 and Debtor 2 onty

OQ) Atieast one of the debtors and another

CJ Check if this claim relates to a
community debt

Date debt was incurred

Nature of lien, Check all that apply.

af An agreement you made (such as morigage or secured
car loan}

O Siatutory lien (such as lax ken, mechanic's lien}

Ql Judgment lien from a lawsuit

C1 other (including a right to offset}

Last 4 digits of account number _4_ 6 8 2

 

 

 

 

 

 

 

 

 

L 2.2] CREDIT ACCEPTANCE Describe the property that secures the claim: $. 10,683.00 5 2,013.00 $
Gradtars Name cence eaten te eee ae en ,
PO BOX 5070 2013 DODGE AVENGER
4s of the date you file, the ciaim is: Check all that appiy.
w CGantingent
SOUTHFIELD MI 480865 (2) unliquidated
City Stale ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
{ Debtor 1 only id An agreement you made (such a3 mortgage or secured ‘
© Debtor 2 only car loan)
© bepdtor t and Debtor 2 only O Statutory Hen (such as tax lien, mechanic’s lien)
C1 Atleast one of the debtors and another CE Judgment hen trom a tawsut
other (including a right to offset)
C Check if this claim relates to a
community debt
Date debt waa incurred —— ______ bast 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: B__204,994.00 |
Official Farm 196D Schedule 0: Creditors Who Have Claims Secured by Property page i of
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 MICHAEL BROWN Case number ¢ranswn
First Name Midoly Name Last Name
Additional Page Column A Column 8 Column ¢
sagt . . woe . Amount of claim Value of collateral Unsecured
After I
listing any entries on this page, number them beginning with 2.3, followed Do aot deduct the that supports this portion
by 2.4, and so forth, oe
value of collateral, Claim If aay
Describe the property that secures the claim: $ $ $
Creditor's Nama penne ee . oe
Number Street
As of the date you file, the claim is: Check all that apply.
QO Coningent
thy Stale ZIP Code CE Uniiquidated
O Disputed
Who owes the debt? Check ona. Nature of lien. Check all that apply.
OF Debtor 1 anty C1 An agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
i] Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic's lien)
C] at wast one of the debtors and another OT Judgment lien from a tawsuit
] Other {including a right to offset)
{] Check if this claim reiates toa
community debt
Date debt was incurred Last 4 digits of account number ___ _
L_| Describe the property that secures the claim: $. $ $
Creditors Name neces te sane
Number Sueet 7 ee ee ene aie nme ee cet me, eee em ase tose mesee sone emmeee
As of the date you file, the claim is: Check ai that apply.
O contingent
C1 Untiquidated
City State ZIP Code QO Disputed
Who owas the debt? Chack one. Nature of lien. Check all that apply.
1 Debtor 4 only G an agreement you made (such as mortgage or secured
QO) Debtor 2 only car loan)
O} debter 4 and Debtor 2 only O Statutory lien (such as tax Hen, mechanic's lien}
LI At teast one of the debtors and another oO Judgmeni lien from a ‘awsuit
1 check if this claim relates to a OF other (including a right ta offset
community debt
Date debt was incurred Last4 digits ofaccount number
L_| Describe the property that secures the claim: $ 3 $
Creditors Name Bee ee ee cece cee ere cetnnee oe ce epcnaevimi: a some em de nae sim
Number Slreet
As of the date you file, the clalm is: Check all that apply.
2 Contingent
City Stale ZIP Code Q) wniiquidated
QO) Disputed
Who owes the debt? Chock one. Nature of lien. Check all that apply.
CQ) Debtor 1 only OC) an agreament you made (such as mortgage or securad
CO Debtor 2 only car loan)
C} Debtor 1 and Debtor 2 only CF statutory lien (such as tax lien, mechanic's lien}
Q) Atleast one of the debtors and another TL) Judgment lien from a lawsuit
O1 Other (including a right to offset)
O Check if this claim relates to a
community debt
Date debt was incurred Last4 digits of account number ee
Add the dollar value of your entries in Column A on this page. Write that number here:
If this is the last page of your form. add the dollar value totals from all pages. 5
Write that number here:
Official Form +G6D Additional Page of Schedule BD: Creditors Who Have Claims Secured by Property page of

 

 

 

 

 
Debtor t MICHAEL BROWN

First Name Mridie Name ~ Lasl Name
a

Era List Others to Be Notified for a Debt That You Already Listed

Case number jd snowal

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already sted in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, jist ihe creditor in Part 1, and then [Ist the collection agency here, Similarly, if
you have more than one creditor for any of the debts that you jisted in Part 1, IIst the additional creditors here. If you do not have additional persons ta
be notified for any debts in Part 1, do not fill out or submit this page,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[ On which line in Part 4 did you enter the creditor?
Name Last4 digits ofaccountnumber
Number Street
City State ZIP Code

[| On which line in Part 1 did you enter the creditor?
Name Last4 digits ofaccountnumber
Number Street
City Siate ZiP Code

[| On which line in Part 4 did you enter the creditor?
Name Last 4 digits of account number __ _.
Number Straet
City State ZIP Cade

[] On which line [In Part 1 did you enter the creditor?
Name Last 4 digits of account number _4 & 8 2
Number Street

 

 

City State ZIP Code

Cn which line in Part 1 did you enter the creditor?

 

 

 

 

 

 

 

 

Name Last 4 digits ofaccountnumber
Number Street
city Staie ZIP Code

| On which line in Part 1 did you enter the creditor?
Name Last 4 digits ofaccount number
Numer Street
Cily State ZIP Code

Official Form 1060 Part 2 af Schedule D: Creditors Who Have Ciaims Secured by Property paqa of
Fill in this Information to identify your ease:

Bebtor 1 MICHAEL BROWN

Firal Name Maidie Name Las Mame

Debtor 2

 

(Spouse, if filing} Fzst Name Middlo Hare Las Hane

United States Bankruptcy Court for the: Western District of Oklahoma

Case number
{i known)

 

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

OQ) Check if this is an
amended filing

TANS

Be as complete and accurate as possible. Use Part 4 for creditors with PRIORITY claims and Part 2 for creditors with NONFRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), Do not include any
creditors with partially secured ¢lalms that are listed in Schedule D: Creditors Who Have Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page'to this page. On the top of

any additional pages, write your name and case number (if known).

aa List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

Kd No. Go to Part 2.
OD) ves.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each clairn. For
each claim listed, identify what type of claim itis. Ifa claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, jist the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. HW more than one creditor holds a particular claim, lst the other creditors in Part 3,

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim! —_ Priority Nonpriority
: amount amount
2.4
Last4 digits ofaccountnumber ss = si, 5 $
Prionty Credilor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that anply
cy Slale ZIP Code 1 Contingent
CY Untiquidated
Who Incurred the debt? Cneck one. © bisputea
O debtor 1 only
(1 debtor 2 onty Type of PRIORITY unsecured claim:
CI Debtor 1 and Debtor 2 only C3 Domestic support obligations
C1 At teast one of the debtors and another CY taxes and certain other debis you owe the government
C1 Check if this claim is for a community debt J Claims for death or Personal injury while you were
Is the claim subject to offset? intoxicated
DF Ne C) other. Specify
1 ves _
la.z Last 4 digits of accountnumber ig $ $
Priority Creditors Name .
When was the debt incurred?
Number Sueet
As of tha date you file, the claim is: Check alt that apply
Qa Contingent
City State ZIP Code Q Unliquidated
Who incurred the debt? Check one. QV disputed

C] debtor 4 only

C) debtor 2 only

(2) debtor 1 and Debter 2 only

(C1 At least one of the debtors and another

© Check if this claim is fora community debt

(s the claim subject to offset?

OQ) wo
O yes

Type of PRIORITY unsecured claim:
LC] Domestic support obligations
() Taxes anc certain other debts you awe the government

C3 Claims for death or personal injury while you were
intoxicated

CY other. Specify

 

Official Form 10G6E/F Schedule E/F: Creditors Who Have Unsecured Glaims oade 1 of
Debtor 1 MICHAEL BROWN

Case number uxnowr,

 

 

 

First Name Middle Name Laat Name
} Patt: [RGiy PRIORITY Unsecured Claims — Continuation Page
After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and $o forth. Total claim Priority Nonpriority
amount amount
Last4 digits ofaccountnumber oe $ 4 5

 

 

Prianty Crediter's Name

When was the debt incurred?

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent

Cay Stato ZIP Codo O Unliquidated
QO Disputed

Who incurred the debt? Check ane.
CQ) Debtor 4 oniy Type of PRIORITY unsecured claim:
O) debtor 2 onty

CO Dabter t and Debter 2 only

C] Atleast one of the debtors and another

C1 Domestic support obligations
Q) Taxes and certain other debts you owe the government

(C) Claims for death or personal Injucy white you were
Intoxicated

Q] Check if this claim Is for a community debt
C1 other. Specity

 

Is the claim subject to offset?

C1 No
CG ves

 

 

 

Last 4 digits of account number —__

Priority Creditor's Name

When was the debt incurred?

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent

Giy Siale ZIP Gado CO] untiquidatea
O Disputed

Who incurred the debt? Check one.
CQ} Debtor 1 only Type of PRIORITY unsecured claim:
OC) debior 2 only

CT Debtor 1 and Debtor 2 only
©] Atleast one of the debtors and another

QO) Domestic support obligations

(J Taxes and ceriain other dants you owe ihe government

O Claims for death or personal injury while you were
intoxicated

Cd Check if this claim is for a community debt
QC other. Specify

 

[s the claim subject to offset?

C} No
01 Yes

Last 4 digits of accountnumber $ 5 $

 

 

Prority Creditors Name

When was the debt incurred?

 

 

 

Number Streaat
As of the date you file, the claim Is: Check all hat apply.
QO Contingent

Cily State ap Code OC Uniiquidated

ma} Disputed
Who Incurred the debt? Check one.

O) pebtor 4 only Type of PRIORITY unsecured claim:

CE Debtor 2 onty
CF Debtor 1 and Debtor 2 only
C] At iaast one of the debtors and another

O Domestic support obligations
Taxes and certain other debts you Owe (he government
C1 Claims for death or personal injury while you were
intoxicated ver
C1 other. Specify

 

(J Check if this claim is for a community debt

 

Is the claim subjoct to offset?

Owe
C) ves

Official Form 106E/F Schedule E/F: Greditors Who Have Unsecured Glalms page of
MICHAEL

First Name:

Debtor 1

Middle Nama Laat Namo

List All of Your NONPRIORITY Unsecured Claims

BROWN

Case number tlinewn)

 

4. Do any creditors have nonpriority unsecured claims against you?

O) No. You have nothing to report in this part. Submit this form to the court with your other schedules,

Yes

4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. {f a creditor has more than one
nonpricrity unsecured claim, list the creditor separately for each claim. For each claim listed. identify whal type of claim itis. Do not list claims already
included in Part 1. Ii more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

SKY TRAIL CASH

 

Nonpriorily Credior's Name

 

 

Total clam

Last 4 digits of accountnumber 7 4 9 4 5 623.00

 

 

 

 

 

 

 

 

 

 

PO BOX 1145 When was the debtincurred? 08/09/2019
Number Straet
LAC DU FLAMBEAU WI 54538
City Slate ZiP Code As of the date you file, the claim [s: Check all thal appty.
iy.
wo Contingent
Who incurred the debt? Check ane.  unliquisated
C] Debtor t only O disputed
Debtor 2 only
(4 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
U1 At least one of the deéters and another O student toans
) Check if this claim is fora community debt C1) obtigations arising out of a separation agreament or divorce
that you did net report as priority claims
Is the claim subject to offset? £1 pebts to pension or profit-sharing plats, and ather similar debts
J no © other. Specify LOAN
Cl ves
le2 | Lastd digits ofaccountnumber 8.
Monpriority Craditar's Name When was the debt incurred?
Number Stragt
As of the date you fife, the claim is: Check all that apply.
City Stata ZIP Code oO Contingent
Who incurred the debt? Check one. O vnliquidated
C1) debtor 3 only C1 bisputed
(J Debtor 2 onty .
4 Debtor 1 and Debter 2 only Type of NONPRIORITY unsecured elaim:
{J At least one of the debtors and another 1 Student loans
. . Q} Obligations arising out of a separation agreement or divorce
O) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject te offset? C1 debts to pension or profit-sharing plans, and other similar debts
@ no C) other, Specify
CI ves
4,3 5
Es | Last4 digits ofaccountnumber $
nN
Nenbnonty Graditar's Name When was the debt incurred?
Number Straat
As of the date you file, the claim is: Check ail that apply.
Cliy State ZIP Code

Who incurred the debt? Check one.

[ Pebter 1 only

OQ Debtor 2 only

C] Debtor 1 and Gebtor 2 only

© Atleast one of the debtors and another

Q) Check if this claim is for a community debt

js the claim subject to offset?
O No

(J Yes

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

ol Contingent
CQ) Untiquidated
C1 disputes

Type of NONPRIORITY unsecured claim:

O) Student loans

oO Obligations arising out of a separation agzeement or divarce
that you did not report as prionty claims

C} Debts to pension ar profit-sharing plans, and other similar debts

O1 Other. Spacity

 

paae oof
Debtor t MICHAEL BROWN

Frat Name Made Name aan Case number ts kacwn)

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
L | Last4 digits of accountnumber _ $
Nonpriority Craditor's Name
When was the debt Incurred?
Number Streat
As of the date you file, the claim is: Check aft that apply.
Cay Sate ZIP Code ff Contingent
. 2 Untiquidated
Who incurred the debt? Check ono. O disputed
 oebtor 1 only
Q bebtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debter 2 only
C1 Student toans
(CJ At loast one of the debtors and another a oo net . .
Obligations arising out of a separation agreement or divorce that
CO Check if this Claim ts for a community debt you did nat report as priority claims
(J Debts to pension or profi-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specify CREDIT CARD
af No
C1 ves
| | Last 4 digits of account number $
Nonpriorty Creditor’s Name

When was the debt incurred?

 

 

Number Steet
As of the date you file, the claim is: Check all that apply.
City Slate ZIP Code: iq Contingent
; ; QO) untiquidates
Who incurred the debt? Check one. © olsputea
CD pebtor 1 only
CI} Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Dedter 1 and Debtor 2 only O Student toans
Atleast one of the debtors and another im] Obilgations arising aut of a separation agreement or divorce that

you did not report as pricrity claims
2 Debts to pension or profit-sharing plans, and other similar debis
Is the claim subject to offset? @ other. Specify, MEDICAL
uw Noa
QO Yes

O) check if this claim is fora cammunity debt

 

Last 4 digits of account number

 

 

 

 

Nonpriority Creditor’s Namo
When was the debt incurred?
Numbe St t
umes ree As of the date you file, the claim is: Check all that apply.
Sity Slate Zi Code sd Contingent
a Unkquidated
Who incurred the debt? Check one, Q) disputed
CI] Debtor t only
C2 Debtor 2 only Type of NONPRIORITY unsecured claim:
bd Debtor 1 and Debtor 2 only ©) Student loans
(At least one of the debtors and ancther O Obligations arising out of a separation agreement or divarce that

you did not repon as priority claims
12 Debts te pension or profit-sharing plans, and ofher similar debts
is the claim subject to offset? ]@ otner, specity MEDICAL

@ no
L3 Yes

C) Check if this claim is for a community debt

Official Form 106E/F Schedule E/F: Creditors Whe Have Unsecured Glalms page of
Debtor’ MICHAEL BROWN

Case number it nnow
Furs] Name Middis Name Laat Name number wi ny

BS List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to he notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, Ifa collection agency is trying to collect from you for a debt you owe to someone else, fist the original creditor in Parts 1 or
2, then list ihe collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persoms to be notified for any debts in Parts 4 of 2, do not fill out ar submit this page.

 

ACTION REVENUE RECOVERY On which entry in Part 1 or Part 2 did you list the original creditor?

Name

910 BRES AVE Line of (Check ene}: O Part 1: Creditors with Priority Unsecured Claims
Numbar Street

 

4 Part 2: Creditors with Nonpriorily Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MONROE LA 71204 Last 4 digits of account number / 4 5 4
CO cate en BAER da Cen ae .
AVANTE USA On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3600 SOUTH GESSENER Line of (Check one}: CO Part 1: Creditors with Priority Unsecured Claims
Number Sweet iJ Part 2: Creditors with Nonpriority Unsecured
STE 225 Claims
HOUSTON TX £7063 Last 4 digits ofaccountnumber_7 4 5 4
chy State ZIP Code ~—™
CAPIO PARTNERS On which entry in Part 1 or Part 2 did you list the original creditor?
Nama -
311 30TH AVE E Line of (Check one): 0) Part 1: Creditors with Priority Unsecured Claims
Nurnbar Street WW Part 2: Creditors with Nonpriority Unsecured
Claims
SHERMAN TX 75091 Last 4 digits of account number Tf _4 3 4
oA ee
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 2 Part 1: Creditors with Priority Unsecured Claims
Nurnber Sueet & Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Namo
Line of (Check one}: O Part 1: Creditors with Priority Unsecured Claims
Number Streat @ Pant 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
City State ZIP Coda
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Cheek one): 0 Part 1: Creditors with Priority Unsecured Claims
Number Stroet if Part 2; Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits ofaccountnumber
City State ZiP Code
On which entry in Part 4 or Part 2 did you list the original creditor?
Name
Line of (Check one); U Part 1: Creditors with Priority Unsecured Claims
Number Street 7, | Part 2: Creditors with Nonpriority Unsecured
Claims
ay Sale 61081 Last 4 digits of account number & 1 4 3

 

Official Farm 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
Debtor t MICHAEL BROWN Case number id sna},

Fest Name Maidle Name Last Name

rare a: the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims, This information is for statistical reporting purposes onfy. 28 U.S.C. § 159,
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

 

Totai claim
Dd i igati .
Total claims 6a, Domestic support obligations 6a $ 0.00
from Part 1 6b. Taxes and certain other debts you owe the
government 6b. § 0.00
6c. Claims for death or personal injury while you were
intoxicated 6c, $ 6,00
6d. Other, Add ali other priority unsecured claims.
Write that amount here. 6d. 4 $ 0.00
6e. Total. Add lines Ga through 6d. Ge.
$ 0.00
Tatal claim
Total claims 6i. Student loans 6f. $ 0.00
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did net report as priority 0.00
claims 8g. $ :
Sh. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 7 0.00
Gi, Other. Add all other nonpriority unsecured claims.
Write that amount here, 6. +5 6,675.00
6j. Total. Add lines 6f through 61. 6}.
d 5 6,675.00

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims pace of
  

cenort ~~ MICHAEL

Psat bigs
Dabtar 2

Fill in this information te identdy your case:

   

      

BROWN

Wigan Name Latiagme

     
    

 

 

(Spouse, (TAN) Flext tame

 

  

Casa number

  

United States Bankupiey Court forthe: Wastern Disirict of Oklahoma

  

MikSe time

 

talliarte

     

 

(tf Frown}

 

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate at possible. Use Part { for creditors with PRIORITY claims and P;
List the otter party to any executory contracts or unex

CQ) Check if this is an
amended filing

W416

art 2 for creditors with NONPRIGRITY claim.
plrod ieaeen that could result Ina claim. Also list executory cantracts on Scitaduie

A/B: Property (Officlat Form 1064/8) and on Schedule G: Executory Contracts and Unexpired Leazas (Oficig| Form 1966). De not include any

creditors with partially aacured claims inat are fisted in Scnequfe OD:
needed, copy the Part you nood, fill it out, numbor tha entries In tho

any additional pages, write your name and case nlinmber (if known}.

ca List All of Your PRIORITY Unsacured Clabas

Creditors Whe Have Claims Secured by Property. lf more space is
boxes on the Init. Attach the Continuation Page to this page. On tha top of

 

' 4. Oo any craditorg have priority unsecured claime against you?

D& No. Go fo Part 2.
oO Yas,

| 2. List alt of your pricrity unsecured claims. Ifa creditor has mora than one priasity unsecured claim, list the craditor separately for aach claim. For

> -@ach-claim. listed, Mentfy what type of claim itis. If a claim has both priority and nonprionty. amounts, list that-clalm, hare’ sind

:  Ronptnity amounts, As mich a5 possible; list the claimsin alphabetléal order accomvig ta the creditor's name. IF you have

' » (For an axplanation.of each type of claim, see the instructions for this form in the instructiari booklet)

Total cian

show batty priority and

more than feo prozity

  

" unsecured élaims, fill out the Continuation Page of Part 1. If more thar one creditor holds a particular claim, ist the other ereditara'in Pat 3. . -

 

MOune amount

 

 

 

 

 

 

 

 

 

 

 

 

 

2 inte Negrin

Last 4 digits of account number 5. a 3
Pdorty Grenilor's Name a a
When was the dent Incurred?
Wumber Steet
AS of the date you tite, the claim Ja: Check al thet apply,
tay Sate ZIPCe GF conpngent
CI untquidated
Whe incurred the debt? Check one. O os
puted
G petter 1 onty
CF debter 2 only Type of PRIORITY unsecured cfalm:
0 Beblor 4 and Debtor 2 only CY Domestic support obligations
Attanal one of the aeblors and OF Tomes and certain other debts you owe the govemment
Cl Check it this ciaim ie for @ community debt Claims for desi or personalinjury white you were
| __ tthe elaim subject to offset? intoxicated
Ol we C other. Specty
iy {2 Yee .
1a te nt Rte Ria Oe a TE I Re NM RORY Go RAEN et LR gh CURES WEL Ceremine A= Mer vai ee spe: ionicerdiNN att getiotawene cee
22 Last 4 digits of account number gg 5 ‘
i Prony Crediece Name
When wae the dabt inoured?
Nargbar Street wee =,
Ad OF the date you fite, the claim is: Cheok all that apply.
G contingent
‘ oHy Site air Goue 1 Untiquidaled
Who incurred the debt? Check one. UL) Dispuiad
5 Debior 1 only Tyne of PRIORITY unsocured claim:
Debtor 2 only DY Domestic support obligations
C) Debtor ¢ and Gebter 2 only d ai th mment
CY At teast ono of the dabtore and another a meee and certain ee, vou ne @ govermmen
. ras for death oF peragned inju ie you WoTs
Ci Check itthis claim is for a community debt intoxdeated ral rary
1g Une lait subject to offaet? other. Spaciy
O No
ee a
Schedule S/F: Creditore Who Have Unsecured Claims page fof_

Official Form (O6ER/F
Dentor1 MICHAEL BROWN

 

 

 

 

 

 

 

 

 

Bainas Gatos — ase number ormeun}
Your NONPRIORITY Unsecured Claims — Continuation Page
:, After Hating any oniies on this. page, cumber them beginning with 4.4, foowed by 4.5, and so forth. , Ties Siang .
L | WELLS FARGO CARD SERVICE Last 4 dights ofaccountnumber 6 6 2 5 116.00
3 .
Nonprorky Crediors Name
PO BOX 14517 When was tne debt incurred? 09/23/2016 '
Numbgr Street
DES MOINES lA 50306 Aa of the Gate yuu file, the claim is: Check aif thet apply,
Gay She ZF Cate Sf Contingent
Whe Incurred the debt? Check one. 5 ofentee. “
OQ) debtor 1 ony
CY Ueiae Fony Type of NONPRIORITY unsacured claim:
U7 debtor 4 and Debtor 2 onty 1 Student ioane

Oa debtors and a.
tHeasi On of Bie aed anothor C3 Obligations artsing 241 of 2 separation agreement or divorce that

you did prt report as prionky clams

Ct Check it thts claim is for a community debt "
C1 certs to pension oF Brofteharing plana, and olher similar dats

 

 

 

 

 

 

 

 

13 the claim subject to offect? Gd cther. Specify CREDIT CARD ;
id No :
D yes
: PROVIDENCE IMAGING CONSULTANTS Last ¢ digits ofaccountrumber 7 4 5 4 % 86.00.
' Noxiproshy Creators Nana
: i 03/26/2015
2001 N. OREGON ST When waa the debt incurred’7
: Rumber Street oe
: MONROE LA 71204 Aa of the date you file, the ¢laim ie: Check af that apply.
Ciy Site EP Cote GM Contingent
O Unuquicated
Who incurred the dept? Check one. 0 HHoputed
Ci Debtor # onty
C Bebior 2 only Type of NONPRIQRITY unsacurad claim:
: Yi Debtor 1 and Cepter 2 only CJ Student toans
; CY At east one of the dobtars and snether 1 Obligations arsing out of a sepsration syrecrnant or divatce that
wus you did not report ag priority claires
OF Ghent ifthis claim i¢ fora community debt (1 nebtate pension oF proft-sharing plans, and other similar debte
Ip the claim subject to offset? omer speci MEDICAL
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EL PASO ™% 79934 @ date you file, the claim fs: Check all thet apply
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Who incurred the debt? Check one, GQ) Disputed
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a BDabtor 1 and Debtor 2 only LY Student teans
©} At feast one of the debtors and another 0 Obigations arising out of a separation agrooment or dlyoree that
you did not report aa parity dojms
C Check tf this ctaim #6 Tor 2 community debt C2 Depts te pension or arom-anating plans, and other emutay debts
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MICHAEL
Dentor 1 Faas SSH a BROWN Case number wim ~ — __

ee AH of Your NONPRIORITY Unsecured Claims

' 3. Do any creditors hava aonprority unsecured claims against you?

a No. You hava nothing (o report in this part. Submit this form to the court with your other schedules.
es

| 4. LSet att of your nonpriorily insecured clatna in the alphabetical order of the creditor who holds each claim. Ifa creditor has more than one
nonprtriy yneecired cai ist the seeuitor Separately for each claim. Fer sack clin bated, identify what type of claim. is, Do not list claims atready

‘ingiuded In ~riiore than one craditor holds.2 particular claini, Kat the other creditors in Part 3. you Hava. nore than theses if ui
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DENISON TX 75020
Cty State ZIP Code As of the dabe you file, the claim lo: Check st that apply,
mt Contingent
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ta the claim subject to offset? CQ Detts to pension of proft-ahaving plana, aed other similar debts
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' EL PASC TX 79925 Ac of the date you file, the claim is: Check all that apply,
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fe | NAVY FEDERAL GREDIT UNION Last 4 digits of account number 9 4 7 2 5 2,213.00
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‘ 820 FOLLIN LANE SE
: Number Street
' MIENNA VA 22180 As of the date you file, tig claim is: Check all thet spay.
' City Slate ZF Code
¢ of Conngernt
Who Incurred tte debt? Check one, C1 Untquicated
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yee . thal you did not report es priority calms
Us the claim subject to offset? C) Debts to pansion or aroft-shering plans, and other similar debts
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Debtur 1 MICHAEL BROWN

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Scie List All of Your NONPRIORITY Unsecured Claims

1 3 Do any creditors have rovpriority unsecured clans agalnst you?

[3 No. Yau have nothing to neport in this part, Submit this fore to the court with your other schedules.
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; 4 Listall Of your nonprionity unsecured claims inthe alphabetical order of the creditor who hofds each clatm. a creditor. has mare than one
rorpponty psecuted Gleli ist the greaitor Forde a ot each calm. For eact claim listed, identify what type of clatir # is, Do not list Gains atready -
_ ined nF art 1. more than one creditor holds a particwar claim, list the other creditors In Part 3.if you have tie} ihre igi
claims fill out the Continuation Page of Part 2. * : Fea hene wore than owee nenpnotty mmerened

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le the claim subject to offset? a Debts to pension or profit shaving plans, and othar similar debta
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CI yes
Schedule E/F; Croditors Who Have Unsecured Claims page of

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Beptor 1 MICHAEL BROWN Case number (itm

First Memo, Age Name Lant Hate

| Part 3: BS Othars to Be Notified About a Debt That Yau Already Listed

 

 

: Use tls page only you have others ty be notifiad about your bankruptcy, for a debt that you already jisted In Parts 1 or 2. For

| ¢Xarmple, if a coltaction agency is trying to collect fram you for a debt you awe io somacne elso, fat the orfginal craditer in Parts 4 or
2, ten Nstthe coflaction agency here. Similarly, # you fave more than one craditer for any of the debts that you tietad in Parts 4 ar 2, list the
additional creditors here, H you do not have additional persons to be notified fur any debta in Parts 1 or 2, do net fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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b
Nutiber Steet Part 2: Creditors with Nonpriozity Unsecurad Claims
MONROE LA 71203 Last 4 digits of account numbor_7 4 5 4°
we. Sees _ ae BP Gods oe Le .
AVANTE SA On which entry it Part 1 ar Part 2 did you ligt the originat creditor?
ame
2600 SOUTH GESSENER Line of (Check one): QO Part 1: Creditors with Priority Unsecured Claims
Number Street i 7 7
Part 2: Creditors with Nenprortty Unsecured
STE 225 Claims .
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CAPIO PARTNERS On which entry In Part 4 or Part 2 did yoy tist the original creditor?
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311 30TH AVE E Line of (Ghaekone): C) Part 1: Creditors with Priority Unsecured Claims
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SHERMAN TX 75001 Last 4 digits of account number_7 4 5 4
ne cane Sate SP Code wee cease wee mt ee
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Schedule E/F: Creciitore Who Have Unsecured Claima page of

Oficial Fon 106£/F
Detiar 1

MICHAEL BROWN

Fra Mame Meta taney Lod ane

Add the Amounts for Each Type of Unsecured Claim

 

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6. Tetat the ameunts of cortain types of unsecunad cla

Add the amounts for egch type of unsecured claim,

Total ciaime 99: Pomestle support obsigations

‘from Part1

6h, Taxes and certain other debts You owe the
government

6c, Claints for death or personal injury whe you wore
intoxicated

_ $0. Other, Add all othar priority unsecured claims.

Witte that amount hore.

' @é. Total. Add linas 6a through 6d,

> Total claims

* from Part 2

$f. Student loans

6g. Oligations arising aut of a separation agreement
or divorce that you did not ceport as priority
claims

. Gh. Debts to pension or profit-sharing plans, and othor

samifer debts

6i. Other, Add ali other nonprionty unsecured claims.

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Schedule EF: Creditors Who Have Unsecured Claims

Ima. This Information is for statistical reporting purposes only. 28 U.S.C, § 159.

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